        Case 1:21-mj-00705-RMM Document 1-1 Filed 12/29/21 Page 1 of 8




                                   STATEMENT OF FACTS

        I, Nicholas Kooch, am a Special Agent with the Federal Bureau of Investigation and have
served in that capacity since October 2019. By virtue of my assignment with the FBI, I am
authorized to conduct investigations into violations of U.S. law. I am an investigative or law
enforcement officer of the United States within the meaning of Section 2510 (7) of Title 18 United
States Code. As a Special Agent, I am authorized by law to engage in or supervise the prevention,
detection, investigation, or prosecution of violations of Federal criminal.

                                           Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



                                                 1
         Case 1:21-mj-00705-RMM Document 1-1 Filed 12/29/21 Page 2 of 8




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

              Identification and Conduct of ROBERT “BOB” THOMAS SNOW

       On or about May 6, 2021, agents received information that a “BOB SNOW” with cellular
telephone number xxx-xxx-2009 (x2009)1, and email address spectrespy43@gmail might have
been in possession of an electronic device within the United States Capitol Building, and might
have been involved in a criminal offense that was committed on January 6, 2021.

        Based on a search of open-source information and law enforcement databases, agents
identified a ROBERT THOMAS SNOW (BOB SNOW) living in Heber Springs, Arkansas with
the same identifiers as provided above.

         According to records obtained from Verizon, on January 6, 2021, in and around the time
of the incident, the cellphone associated with phone number x2009, was subscribed to by ROBERT
SNOW, and was identified as having used a cell site consistent with providing service to a
geographic area that included the interior of the U.S. Capitol Building.

        In addition, according to records obtained from Google, a mobile device associated with
phone number x2009, subscribed to by SNOW, was present at or around the U.S. Capitol on
January 6, 2021. Google estimates device location using sources including GPS data and
information about nearby Wi-Fi access points and Bluetooth beacons. This location data varies in
its accuracy, depending on the source(s) of the data. As a result, Google assigns a “maps display
radius” for each location data point. Thus, where Google estimates that its location data is accurate
to within 10 meters, Google assigns a “maps display radius” of 10 meters to the location data point.
Finally, Google reports that its “maps display radius” reflects the actual location of the covered
device approximately 68% of the time. In this case, Google location data shows that a device
associated with phone number x2009 was within or around the U.S. Capitol on January 6, 2021
between the time of 2:15:50 PM and 4:34:01 PM.

       On or about February 1, 2021, agents interviewed SNOW at his residence. SNOW
voluntarily confirmed his identity, and admitted to his presence in Washington D.C. on January 6,
2021, and to entering the United States Capitol Building.

        A review of video footage from U.S. Capitol closed-circuit video (CCV) of the events of
January 6, 2021 revealed a person believed to be SNOW present in various locations inside the
U.S. Capitol Building. Agents believe the person identified in the series of screenshots below to
be SNOW based on their prior interview with SNOW, and based on a comparison of CCV footage
with the SNOW’s most recent driver’s license photograph. This individual was tracked on multiple
CCV cameras throughout the U.S. Capitol Building based on these comparisons, and based on his
clothing and accessories.
1
 The complete phone number is known to the affiant, but omitted here due to the public nature
of this filing.
                                                 2
        Case 1:21-mj-00705-RMM Document 1-1 Filed 12/29/21 Page 3 of 8




        At approximately 2:15 PM (19:15:38Z) CCV captured a person believed to be SNOW
entering the U.S. Capitol Building through the Senate Wing Door. He was talking on a cellular
telephone and wearing a dark-colored sweatshirt and a dark knit hat, with a light blue strap around
his person:




       The same person believed to be SNOW passed through the same area at approximately
2:24 PM, and can be seen waving people into the building and patting people on the back as they
enter. Here, he can be seen wearing a dark-colored sweatshirt and a dark knit hat, with a light
blue cooler around his person:




                                                3
        Case 1:21-mj-00705-RMM Document 1-1 Filed 12/29/21 Page 4 of 8




       At approximately 2:29 PM (19:29:38Z), CCV captured a person believed to be SNOW in
the Rotunda of the Capitol Building holding a cell phone and wearing what appears to be the same
dark-colored sweatshirt, dark knit hat and light blue cooler around his person:




                                               4
        Case 1:21-mj-00705-RMM Document 1-1 Filed 12/29/21 Page 5 of 8




       At approximately 2:31 PM (19:31:49Z), CCV captured a person believed to be SNOW
walking through the Statuary Hall of the Capitol Building, looking at his cellular telephone and
wearing what appears to be the same dark-colored sweatshirt, dark knit hat and light blue cooler
around his person:




       At approximately 2:49 PM (19:49:28Z), CCV captured a person believed to be SNOW
walking down the House Gallery hallway, wearing what appears to be the same a dark-colored
sweatshirt, dark knit hat and light blue cooler around his person. A Capitol Police Officer directed
SNOW and others to drop to the ground. SNOW complied.




                                                 5
        Case 1:21-mj-00705-RMM Document 1-1 Filed 12/29/21 Page 6 of 8




       At approximately 2:56 PM (19:56:36) CCV captured a person believed to be SNOW
walking down the East Corridor hallway followed by Capitol Police Officers, wearing what
appears to be the same a dark-colored sweatshirt, holding what appears to be a dark knit hat and
a wearing light blue cooler around his person.




                                                6
        Case 1:21-mj-00705-RMM Document 1-1 Filed 12/29/21 Page 7 of 8




       At approximately 2:58 PM, CCV captured a person believed to be SNOW exiting the
Capitol Building through the East Rotunda Door, wearing what appears to be the same a dark-
colored sweatshirt, dark knit hat and light blue cooler around his person.




       On November 1, 2021, Agents re-interviewed SNOW, who again admitted to entering the
U.S. Capitol Building on January 6, 2021. SNOW confirmed his cellular telephone number as

                                              7
        Case 1:21-mj-00705-RMM Document 1-1 Filed 12/29/21 Page 8 of 8




documented previously, as well as his email address. SNOW identified himself in two CCTV
screenshots taken on January 6, 2021 inside the Capitol Building. Snow provided Agents with
the light blue cooler seen around SNOW’s person in the CCTV screenshots. SNOW recalled a
moment inside the Capitol Building after being prone on the ground and searched by law
enforcement when he was provided directions to exit. SNOW stated that he exited the U.S.
Capitol Building as instructed, and soon re-entered. He told Agents that when he re-entered the
Capitol Building he urinated on a column inside an area he thought to be a cafeteria and then
exited once more.

                                        Criminal Charges

        Based on the foregoing, your affiant submits that there is probable cause to believe that
ROBERT THOMAS SNOW violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.


        Your affiant submits there is also probable cause to believe that ROBERT THOMAS
SNOW violated 40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.

                                                      _________________________________
                                                      Nicholas Kooch
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of December 2021.
                                                                            2021.12.29
                                                                            13:20:41 -05'00'
                                                     _____________________________________
                                                     HONORABLE ROBIN M. MERIWEATHER
                                                     UNITED STATES MAGISTRATE JUDGE


                                                 8
